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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ALISON RAY
   Collegeville, PA 19426,
                                                    No. 2:18-cv-03303-TR
                   Plaintiff,


       -against-                                    Magistrate Judge Timothy R. Rice


AT&T MOBILITY SERVICES, LLC
  1025 Lenox Park Blvd., NE.
  Atlanta, GA 30319


                   Defendant.

                                    [PROPOSED] ORDER


       AND NOW, this _______ day of _________________________, 2020, upon

consideration of Defendant AT&T Mobility Services LLC’s Motion For Leave To Amend Its

Answer To The First Amended Complaint And Affirmative Defenses To Add A Counterclaim,

IT IS HEREBY ORDERED that Defendant’s Motion is GRANTED.

       IT IS FURTHER ORDERED that the Amended Answer With Affirmative Defenses

And Counterclaim is deemed filed.

                                         IT IS SO ORDERED



                                         __________________________________________
                                         Honorable Timothy R. Rice, U.S. Magistrate Judge
